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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

     INRE:                                                           CASE NO. 21-57421-wlh
     Shamoya Bailey,
                                                                     CHAPTER 7
               Debtor(s).


        NOTICE TO LANDLORD/LESSOR CONCERNING APPLICABILITY OF
      EXCEPTION TO AUTOMATIC STAY PROVIDED UNDER 11 U.S.C. § 362(b)(22)

        Debtor or Debtors (hereinafter "Debtor") in this case has identified you as a
Landlord/Lessor who has obtained a judgment for possession of residential prope1ty in which
Debtor resides as. a tenant. In accordance with 11 U.S.C. § 362(1)(4)(B) you are hereby notified
that the exception to the automatic stay as provided under 11 U.S.C. § 362(b)(22) may be
applicable because:

I.
                      Debtor has not filed a certification that under applicable nonbankruptcy law there
                      are circumstances under which the debtor would be permitted to cure the entire
                      monetary default that gave rise to the judgment for possession, after the judgment
                      for possession was entered, or

                      Debtor has not filed a certification that Debtor(s) has deposited with the Comt the
                      rent that would become due during the 30-day period after the filing of the petition;
                      or

           �          Debtor has not made the appropriate deposit with the Comt.

2.
           □          Debtor has not filed a ce1tification that Debtor has cured, under nonbankruptcy law
                      applicable in this jurisdiction, the entire monetary default that gave rise to the
                      judgment under which possession is sought by the Landlord/Lessor.

      Where applicable, ce1tified copies of the case docker and/or ce1tification are enclosed.




                                                            '�.=
This Notice will be served upon Landlord/Lessor and Debtor and their counsel, if any.

Dated: October 5, 2021
                                                            '->                             .:·�
United States Bankruptcy Court                              M. REGINA THOMAS, Clerk of Court
75 Ted Turner Drive, SW, Room 1340
Atlanta, GA 30303




Notice to Landlord - 02/2016
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